              Case 2:21-cv-01237-EJY Document 14 Filed 11/22/21 Page 1 of 3




 1   CHRISTOPHER CHIOU
     Acting United States Attorney
 2
     District of Nevada
 3   Nevada Bar No. 14853

 4   ALLISON J. CHEUNG, CSBN 244651
     Special Assistant United States Attorney
 5   160 Spear Street, Suite 800
     San Francisco, California 94105
 6   Telephone: (415) 977-8911
     Facsimile: (415) 744-0134
 7   E-Mail: allison.cheung@ssa.gov

 8   Attorneys for Defendant

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11                                   UNITED STATES DISTRICT COURT

12                                         DISTRICT OF NEVADA

13   EDNA CALLAWAY,                             )
                                                )   Case No.: 2:21-cv-01237-EJY
14                 Plaintiff,                   )
                                                )   MOTION FOR AN EXTENSION OF TIME TO
15          vs.                                 )   PROVIDE THE COURT WITH A PAPER COPY
                                                )   OF THE CERTIFIED ADMINISTRATIVE
16   KILILO KIJAKAZI,                           )   RECORD
     Acting Commissioner of Social Security,    )
17                                              )   (FIRST REQUEST)
                   Defendant.                   )
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                Case 2:21-cv-01237-EJY Document 14 Filed 11/22/21 Page 2 of 3




 1           Defendant, Kilolo Kijakazi, Acting Commissioner of Social Security (the “Commissioner”), by and
 2   through her undersigned attorneys, hereby moves for an extension of time to provide the Court with a paper
 3   copy of the Certified Administrative Record (CAR) in this case. The Commissioner’s answer and CAR
 4   are due to be filed by December 3, 2021.
 5           This Court has in the past in other cases denied the Commissioner’s motions to be relieved of
 6   providing a paper copy of the CAR to the Court. In light of these orders, the Commissioner intends to file
 7   her answer and an electronic copy of the CAR (e-CAR) by no later than the current deadline of December
 8   3, 2021.1 However, the Social Security Administration’s Office of Appellate Operations (OAO), the Office
 9   of the General Counsel (OGC), and the United States Attorney’s Office (USAO) remain unable to print
10   and provide a paper copy of the CAR by the current deadline. Cognizant of the Court’s orders, the
11   Commissioner requests a 60-day extension of time from the date on which the answer is filed to find a
12   solution for the submission of a paper courtesy copy of the CAR for the Court.
13           The Commissioner submits that no prejudice will result from granting this extension. Under the
14   scheduling orders in this district, Plaintiff’s motion for reversal and/or remand will be due in 30 days after
15   issuance of a scheduling order. Plaintiff will not be prejudiced by this extension, as Plaintiff’s counsel will
16   have access to the e-CAR that the Commissioner intends to file on CM/ECF on the current deadline, such
17   that Plaintiff’s motion can be drafted and filed. In addition, the scheduling orders of this district generally
18   allow the Commissioner to file a cross-motion to affirm and response to Plaintiff’s motion within 30 days
19   after Plaintiff’s motion is filed. Plaintiff is also generally allowed another 20 days to file an optional reply.
20   In light of this timeline, the earliest that the Court may require a paper copy of the CAR to adjudicate this
21   case will be 60 days after the CAR is filed.
22           For these reasons, the Commissioner respectfully requests that the Court grant this motion and
23   allow the paper CAR to be provided to the Court within 60 days after the answer/e-CAR are filed.
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      Defendant is concurrently filing a motion to be relieved of providing the Court with a copy of the CAR
     on a compact disc, as was required pre-COVID.

     Mot. for Ext. of Time; No. 2:21-cv-01237-EJY   1
                Case 2:21-cv-01237-EJY Document 14 Filed 11/22/21 Page 3 of 3




 1           Dated: November 22, 2021                   CHRISTOPHER CHIOU
                                                        Acting United States Attorney
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                                                        /s/ Allison J. Cheung
 3                                                      ALLISON J. CHEUNG
                                                        Special Assistant United States Attorney
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 7                                                      IT IS SO ORDERED:

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                                                        UNITED STATES MAGISTRATE JUDGE
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                                                        DATED: November 22, 2021
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     Mot. for Ext. of Time; No. 2:21-cv-01237-EJY   2
